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          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,              Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________

                          JOINT RULE 26(f) REPORT
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      Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and this Court’s
Order (Docket Entry (“DE”) 56), Plaintiff Andrew Warren and Defendant Ron

DeSantis respectfully submit this Joint Rule 26(f) Report.
      1.    Rule 26(f) Conference
      The parties conferred by telephone and video conference under Fed. R. Civ.
P. 26(f) on September 23, 2022 and agreed to this report on September 27, 2022.
David Singer, Jean-Jacques Cabou, and Alexis Danneman participated in the
conference for Plaintiff, and Henry Whitaker, James Percival, Jeffrey DeSousa, Jeff

Aaron, and George Levesque participated for Defendant.
      2.    Jurisdiction
      This Court has jurisdiction under 28 U.S.C. § 1331 and 42 U.S.C. §§ 1983
and 1988. Plaintiff’s position is the Court has jurisdiction under 28 U.S.C. §
1343(a)(3) and 1357. Defendant’s position is that the Complaint does not contain
allegations that support jurisdiction under those statutes. This Court has jurisdiction
to grant declaratory relief under 28 U.S.C. § 2201. Plaintiff’s position is that the
Court has jurisdiction to grant injunctive relief under 28 U.S.C. § 2202. Defendant’s
position is that § 2202 is not jurisdictional and that the Court lacks authority to order
the injunctive relief Plaintiff seeks in any event. Plaintiff believes the Court has
jurisdiction to grant attorneys’ fees under 42 U.S.C. § 1988(b). Defendant’s
position is that § 1988(b) is not jurisdictional and that an award of attorney’s fees
in this litigation is inappropriate in any event. The parties agree that this action
arises under the Constitution and laws of the United States.




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         3.     Summary of Proposed Deadlines

      DEADLINE OR                   PLAINTIFF’S                 DEFENDANT’S
           EVENT                     PROPOSAL                    PROPOSAL
      Mandatory Initial
                                                   October 3, 2022
         Disclosures
    Deadline for Plaintiff to
     Amend Pleadings and                           October 3, 2022
         Join Parties

    Deadline for Defendant
                                                   October 3, 2022
     to Answer Complaint

     Deadline for Defendant
    to Amend Pleadings and                         October 10, 2022
          Join Parties
                                   October 14, 2022
                                                               November 14, 2022
    Fact discovery deadline       (Assuming 10/24/22
                                                             (Assuming 12/5/22 trial)
                                        trial)1
       Expert discovery
                                                         N/A
          deadline
      Dispositive motions                 N/A 2                November 16, 2022
                                14 days to respond, if the
       Oppositions to
                                Court permits dispositive      November 23, 2022
     Dispositive Motions
                                        motions
     Replies in Support of
         Dispositive                      N/A                  November 28, 2022
           Motions
      Pretrial Disclosures
         (exhibit lists,            October 17, 2022           November 21, 2022
         witness lists)

1
      Plaintiff proposes that in the event of a December 5, 2022 trial, discovery
should be completed by October 24, 2022.
2
      Plaintiff does not believe dispositive motions are appropriate, as explained
below. Plaintiff reserves the right to file a dispositive motion if the Court permits
such motions.


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  DEADLINE OR               PLAINTIFF’S                   DEFENDANT’S
      EVENT                  PROPOSAL                      PROPOSAL
 Motion for Protective
  Order regarding
                                  N/A                     October 10, 2022
    Deposition of
      Defendant
 Opposition to Motion
                                  N/A                     October 17, 2022
 for Protective Order
 Reply in Support of
 Motion for Protective            N/A                     October 20, 2022
        Order

 Objections to Witness
                            October 19, 2022          November 28, 2022
   and Exhibit Lists



  Motions in Limine         October 21, 2022          November 28, 2022


     Final pretrial
                                          TBD by Court
      conference
     Pretrial briefs                      TBD by Court
   Trial term begins        October 24, 2022              December 5, 2022
Estimated length of trial                      4-5 days
     Jury/Non-Jury                             Non-Jury
       Mediation                          None proposed
  Consent to proceed
       before                                    No
   magistrate judge




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      4.    Initial Disclosures
      The parties agree to exchange Rule 26(a)(1) information by October 3, 2022.

The parties do not propose any changes in the timing, form, or requirement for
disclosures under Rule 26(a)(1).
      5.    Discovery Plan
            a.     Subject Matter
      The parties propose the following discovery plan. Discovery will be needed
on the following subjects.

      Plaintiff intends to take discovery regarding: Defendant’s suspension of
Plaintiff from his elected role as State Attorney; the event at which the suspension
was announced, and subsequent public statements made about the suspension by
Defendant and those allied with Defendant; Defendant’s reasons and pretext for
suspending Plaintiff; and Defendant’s appointment of a replacement for Plaintiff.
      Defendant intends to take discovery regarding Plaintiff’s development,
execution, and implementation of policy statements and non-prosecution policies, as
well as any evidence relevant to whether the Governor was entitled to suspend
Plaintiff regardless of protected activity. Defendant disagrees with Plaintiff’s

position in opposition to Defendant’s proposed basis and scope of discovery, but
believes that the issue is properly litigated in the context of a specific discovery
request.
      Plaintiff’s position is that much if not all of Defendant’s proposed discovery
is irrelevant to Defendant’s defenses, unduly burdensome, and disproportionate to
the needs of the case. See Fed. R. Civ. P. 26(b)(1). Plaintiff intends to object to


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discovery of facts not known to Defendant on or before August 4, 2022 and not
within the four corners of the executive order, as such information would not be

relevant or probative of “whether the [defendant] [can show] by a preponderance of
the evidence that [he] would have reached the same decision [to suspend Mr. Warren
from office] even in the absence of the protected conduct.” Mt. Healthy School
District Board of Education v. Doyle, 429 U.S. 274, 287 (1977).
             b.     Electronically Stored Information
      Disclosure or discovery of electronically stored information (“ESI”) should

be handled as follows:
      The parties agree to discuss and seek agreement on protocols with respect to
the identification, review, and production of electronically stored information ESI.
ESI shall be produced, on a rolling basis, in an electronic format to be agreed upon
by the parties. The parties have agreed to negotiate in good faith on the following
issues:
      • The need to produce various forms of ESI;
      • Limitation on production of ESI, for example, on the basis of search terms
          to be agreed upon by the parties;
      • Scheduled timing for updating the production of ESI during the course of
          litigation;
      • The format of document production; and
      • Defining the scope of production of ESI that is “not reasonably accessible
          because of undue burden or cost,” including without limitation the




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          identification of such information, and procedures to compel production of
          such information, including cost allocation.

      In the event that a document protected by the attorney-client privilege, the
attorney work product doctrine, or another applicable privilege or protection is
unintentionally produced by any party to this proceeding, the producing party may
request that the document be returned. In the event that such a request is made, all
parties to the litigation and their counsel shall promptly return all copies of the
document in their possession, custody, or control to the producing party and shall

not retain or make any copies of the document or any documents derived from such
document. The producing party shall promptly identify the returned document on a
privilege log. The unintentional disclosure of a privileged or otherwise protected
document shall not constitute a waiver of the privilege or protection with respect to
that document or any other documents involving the same or similar subject matter.
               c.   Discovery Deadline and Proposed Trial Dates
      The parties are presently unable to agree on a proposed trial date; this
disagreement impacts certain of the proposed deadlines below and in the summary
chart above.
      As stated in Court on September 19, 2022, Plaintiff believes that with efficient
discovery, the matter can proceed to trial on October 24, 2022. 3 Defendant has
proposed a trial date of December 5, 2022. 4 Defendant’s position is that a significant

3
     Plaintiff’s counsel are unavailable for trial the weeks of November 7 and
November 14.
4
     Defendant’s counsel are unavailable for trial the week of October 31 and the
week of December 12.


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amount of discovery must be conducted in a short time frame, even under pared-
down discovery procedures. Also, issues of executive privilege and the apex doctrine

that must also be addressed based upon the Plaintiff’s stated intent to depose
Defendant. Additionally, the State is under a state of emergency, with Hurricane Ian
forecast to make landfall in Florida between Tampa and Tallahassee later this week.
This impacts the availability of Defendant and Defendant’s staff and counsel in the
near term and after the storm has passed and complicates their ability to respond to
anticipated discovery requests and to prepare for trial on expedited timelines. Given

these issues, a December trial date is still ambitious but would permit the parties to
prepare the matter for trial in a more orderly fashion.
      Assuming a trial date of October 24, 2022, Plaintiff proposes that the last date
to complete all fact discovery is October 14, 2022.
      Assuming a trial date of December 5, 2022, Defendant proposes that the last
date to complete all fact discovery is November 14, 2022. Plaintiff proposes that in
the event of a December 5, 2022 trial, discovery should be completed by October
24, 2022.
             d.     Interrogatories
      The parties agree that each side is entitled to 15 interrogatories.
             e.     Requests for Admission
      The parties agree that each side is entitled to 20 requests for admission.
             f.     Requests for Production
      The parties agree that each side is entitled to 10 requests for production.




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               g.   Depositions
      Plaintiff’s Position: Plaintiff’s position is that in addition to the depositions

of the parties, each side should be permitted to take no more than 8 other
depositions.5 Plaintiff further believes that a time limit shorter than the presumptive
limit is appropriate for all depositions, including the deposition of the Plaintiff and

the deposition of the Defendant.
      Defendant’s Position: Defendant’s position is that, consistent with Rule
30(a)(2)(A)(i), each side should be permitted to take no more than 10 depositions,
regardless of party status. Defendant intends to assert the apex doctrine and
executive/deliberative process privileges. Defendant does not believe a shorter limit
than the presumptive, 7-hour limit set forth in Rule 30(d)(1) is appropriate for any

depositions.
               h.   Expedited Time to Respond to Discovery
      The parties agree that all discovery requests should be answered within 14
days after service, which shall be accomplished by email.
               i.   Experts
      The parties agree that no Rule 26(a)(2) witness may testify, unless otherwise
agreed by the parties.
      6.       Other Items Discussed at the Joint Meeting
      The parties discussed certain other matters during their joint meeting about
which they wish to advise the court:

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      Plaintiff would agree to five depositions per side if the matter is set for trial
on October 24, 2022.


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            a.     Deadline to Amend Pleadings: The deadline for Plaintiff to
                   amend the pleadings and join parties is October 3, 2022. The

                   deadline for Defendant to amend the pleadings and join parties
                   is October 10, 2022.
            b.     Dispositive Motions:
                   Plaintiff’s Position:       Plaintiff does not believe dispositive
                   motions are appropriate, given that the Court has ordered the
                   matter to trial on an expedited basis in order to ensure a ruling on

                   a more complete factual record. Should the Court permit such
                   motions to be filed, Plaintiff reserves the right to do so.
                   Defendant’s Position: Defendant reserves the right to file a
                   dispositive motion and proposes the following briefing schedule:
                   Defendant’s dispositive motion is due by November 16, 2022;
                   Plaintiff’s response to the motion is due by November 23; and
                   Defendant’s reply to Plaintiff’s response is due by November
                   28.6
            c.     Answer Deadline: The parties agree that Defendant’s Answer is
                   due by October 3, 2022.
            d.     Pretrial Disclosure Deadline: Plaintiff’s position is that Rule
                   26(a)(3)(A) pretrial disclosures should be filed by October 17,


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      Plaintiff objects to any schedule that would have it respond to a dispositive
motion within 7 days of that motion being filed. Plaintiff proposes 14 days to
respond.


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                    2022, and Rule 26(a)(3)(B) objections should be filed by October
                    19, 2022. Defendant’s position is that Rule 26(a)(3) disclosures

                    of exhibits, witnesses, and deposition designations before any
                    depositions have been conducted, before any documents have
                    been produced, and on the same day that initial disclosures are
                    due, is premature. Defendant proposes that the parties file Rule
                    26(a)(3)(A) disclosures by November 21 and Rule 26(a)(3)(B)
                    disclosures by November 28.

             e.     Trial Length: The parties presently believe a bench trial of this
                    matter will take 4-5 days.
             f.     Pretrial Conference: The parties request a date consistent with
                    the trial date set by the Court.
             g.     Scope of Discovery: During the joint meeting the parties
                    identified certain areas of disagreement already evident to them
                    and for which the Court’s assistance will be necessary to resolve.
                    In summary those issues already identified are:
      Defendant stated a view of relevant discovery, including discovery into
Plaintiff’s development, execution, and implementation of policy statements and
non-prosecution policies and what was intended by such policy statements and non-
prosecution policies, as well as any evidence relevant to whether the Governor was
entitled to suspend Plaintiff regardless of protected activity.
      Plaintiff sees the relevant discovery as focused on the suspension and the
events and motivations surrounding the suspension as stated in Section 5A above.


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Plaintiff’s position is that much if not all of Defendant’s proposed discovery is
irrelevant to Defendant’s defenses, unduly burdensome, and disproportionate to the

needs of the case. See Fed. R. Civ. P. 26(b)(1). Plaintiff intends to object to
discovery of facts not known to Defendant on or before August 4, 2022 and not
within the four corners of the executive order, as such information would not be
relevant or probative of “whether the [defendant] [can show] by a preponderance of
the evidence that [he] would have reached the same decision [to suspend Mr. Warren
from office] even in the absence of the protected conduct.” Mt. Healthy School

District Board of Education v. Doyle, 429 U.S. 274, 287 (1977).
      Plaintiff expects to depose Defendant.
      Defendant will assert the apex doctrine and executive/deliberative process
privileges in response to any attempt to compel Defendant’s testimony; however,
Defendant would be willing to produce a designated representative consistent with
Federal Rules of Civil Procedure Rule 30(b)(6). Defendant proposes the following
briefing schedule: Defendant’s motion for protective order is due by October 10,
2022; Plaintiff’s response to the motion is due by October 17; and Defendant’s reply
to Plaintiff’s response is due by October 20.
             h.    Motions: The Parties’ position is that expedited response times
                   should be provided for motions in lieu of the 14-day deadline
                   imposed under Local Rule 7.1(E). The Parties propose any
                   response to a motion, other than a dispositive motion, should be
                   filed within 7 days after service.




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      Given the dispute regarding the trial date and the other disputes already noted
herein, the parties request a prompt meeting with the Court before a Scheduling

Order is entered to discuss the resolution of deadlines on which the parties cannot
agree and the establishment of an expedited procedure by which to resolve any
further disputes that may arise in the course of discovery.


Dated: September 27, 2022
RESPECTFULLY SUBMITTED
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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 27, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via the Court’s CM/ECF

System for filing.

                                            /s/ Jennifer McNamara




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